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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                              NORTHERN DIVISION

UNITED STATES OF AMERICA                    *      Case No. RDB-19-0020

v.                                          *

PAUL ALEXANDER                              *
DEFENDANT
                                            *

*        *      *      *      *      *      *      *      *      *      *       *

                MOTION TO STRIKE ATTORNEY APPEARENCE

        NOW COMES Counsel Ryan Burke, and respectfully requests that this
Honorable Court strike the appearance of Counsel for Defendant stating the following in
support:


     1. Counsel was appointed to this case through the Criminal Justice Act (CJA) Panel
        and represented Defendant for his initial appearance before the Honorable Court
        on January 3, 2019.


     2. However, Defendant has since retained Private Counsel outside of CJA.


     3. Therefore, Counsel requests the Court to strike the appearance of Counsel for
        Defendant.




        WHEREFORE, Counsel Ryan Burke respectfully requests the Court to strike the
appearance of Counsel for Defendant.
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                                           Respectfully submitted,


                                             Ryan L. Burke
                                            Ryan L. Burke
                                            Federal ID: 29750




                          CERTIFICATE OF SERVICE
      I hereby certify that on this 8th day of March 2019, a true and accurate copy of
this Motion to Strike Attorney Appearance was served on Assistant United States
Attorney Matthew Dellabetta by operation of the Court’s electronic filing system.


                                             Ryan L. Burke

                                            Ryan L. Burke
                                            Federal ID: 29750
